319 F.2d 857
    Josephine GOSS and Thomas A. Goss, Infants by Ralph Goss,Their Father and Next Friend, et al., Appellants,v.The BOARD OF EDUCATION OF THE CITY OF KNOXVILLE, TENNESSEE,a Body Corporate or Continuous Legal Entity, c/oDr. John H. Burkhart, President, et al.,Appellees.
    No. 14425.
    United States Court of Appeals Sixth Circuit.
    Aug. 8, 1963.
    
      Carl A. Cowan, Knoxville, Tenn., Z. Alexander Looby and Avon N. Williams, Jr., Nashville, Tenn., Jack Greenberg, New York City, for plaintiffs-appellants.
      S. Frank Fowler and Claude K. Robertson, Fowler, Rowntree &amp; Fowler, Knoxville, Tenn., for defendants-appellees.
      Before CECIL, WEICK and O'SULLIVAN, Circuit Judges.
    
    ORDER.
    
      1
      On April 3, 1962, 301 F.2d 164, judgment was entered by this Court in this cause affirming a judgment of the United States District Court for the Eastern District of Tennessee, D.C. Northern Division, 186 F.Supp. 559, to the extent that it approved in a plan of desegregation for the public schools of Knoxville a transfer system which recognized as some of the valid conditions for transfer the following: 'a.  When a white student would otherwise be required to attend a school previously serving colored students only.  b.  When a colored student would otherwise be required to attend a school previously serving white students only.  c.  When a student would otherwise be required to attend a school where the majority of students in that school, or in his or her grade, are of a different race.'  The aforesaid judgment of this Court with respect to its approval of said transfer system has now been reversed by the United States Supreme Court.
    
    
      2
      Now, Therefore, It Is Ordered that the judgment of this Court heretofore entered on April 3, 1962, affirming the judgment of the United States District Court for the Eastern District of Tennessee, insofar as it approved said transfer system, be and it is hereby vacated; and It Is Further Ordered that the judgment of the District Court aforesaid insofar as it approved said system of transfer be and it is hereby reversed.
    
    